                              UNITED STATES DISTRICT COURT

                     FOR THE EASTERN DISTRICT OF TENNESSEE

                                        AT KNOXVILLE

R. ALEXANDER ACOSTA,                                  )
Secretary of Labor, United                            )
States Department of Labor,                           )
                                                      )
               Plaintiff                              )
                                                      )
v.                                                    )
                                                      )            COMPLAINT
SOUTHEASTERN PROVISION, LLC                           )       (Injunctive Relief Sought)
and JAMES BRANTLEY,                                   )
                                                      )
               Defendants                             )


               This cause of action, which arises under the Fair Labor Standards Act of 1938, as

amended, 29 U.S.C. § 201, et seq., hereinafter the Act, is brought by the Secretary of Labor pursuant to

authority granted by Section 11(a) and Section 16(c) of the Act, 29 U.S.C. § 211(a) and § 216(c).

                                                  I

               Jurisdiction is conferred upon the Court by Section 17 of the Act, 29 U.S.C. § 217, to

enjoin violations of the Act and to restrain the withholding of back wages due under the Act; and by 28

U.S.C. § 1345 to award additional amounts, equal to back wages due, as liquidated damages under

Section 16(c) of the Act, 29 U.S.C. § 216(c).

                                                 II

               A. Defendant, Southeastern Provision, LLC, a limited liability company operated by

James Brantley, having a place of business and doing business in Grainger County, Tennessee, at all

times hereinafter mentioned, has been engaged in the operation of a slaughterhouse.




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                B. Defendant, James Brantley, at all times hereinafter mentioned, has acted directly or

indirectly in the interest of Southeastern Provision, LLC in relation to its employees, and therefore, is an

employer within the meaning of Section 3(d) of the Act, 29 U.S.C. § 203(d).

                                                   III

                A. Defendants, at all times hereinafter mentioned, have suffered or permitted to work

employees, and therefore, have been employers within the meaning of Sections 3(d) and 3(g) of the Act,

29 U.S.C. §§ 203(d) and 203(g).

                B. At all times hereinafter mentioned, Defendants employed employees that have been

and are engaged in commerce or in the production of goods for commerce, within the meaning of

Sections 3(b) and (j), respectively, of the Act, 29 U.S.C. §§ 203(b) and (j).

                                                    IV

                At all times hereinafter mentioned:

                A. Defendants, having been engaged in related activities performed either through

unified operation or common control for a common business purpose, constitute an enterprise within the

meaning of Section 3(r) of the Act, 29 U.S.C. § 203(r), and

                B. Such enterprise, employing employees engaged in commerce or in the production of

goods for commerce, or employing employees handling, selling or otherwise working on goods or

materials that have been moved in or produced for commerce; and having an annual gross volume of

sales made or business done of not less than $500,000 (exclusive of excise taxes at the retail level which

are separately stated), constitutes an enterprise engaged in commerce or in the production of goods for

commerce, within the meaning of § 3(s)(1)(A) of the Act, 29 U.S.C. § 203(s)(1)(A).

                C. Therefore, during the period at issue the said employees were employed in an

enterprise engaged in commerce or in the production of goods for commerce, within the meaning of

Sections 3(r) and/or 3(s)(1) of the Act, and the employees and the enterprise were subject to Sections 6,


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7, and 11(c) of the Act.

                                                   V

               Since at least April of 2015, Defendants willfully and repeatedly violated the provisions

of Sections 6 and 15(a)(2) of the Act, 29 U.S.C. §§ 206 and 215(a)(2), by failing to pay employees

employed in an enterprise engaged in commerce or in the production of goods for commerce the

applicable minimum hourly rate.

                                                  VI

               Since at least April of 2015, Defendants willfully and repeatedly violated the provisions

of Sections 7 and 15(a)(2) of the Act, 29 U.S.C. §§ 207 and 215(a)(2), by employing employees in an

enterprise engaged in commerce or in the production of goods for commerce for workweeks longer than

40 hours without compensating such employees for their employment in excess of such hours at rates

not less than one and one-half times the regular rates at which they were employed.

                                                  VII

               Since at least April of 2015, Defendants, subject to the provisions of the Act, willfully

and repeatedly violated the provisions of Sections 11(c) and 15(a)(5) of the Act, 29 U.S.C. §§ 211(c)

and 215(a)(5), and Regulations found at 29 C.F.R. Part 516, by failing to make, keep, and preserve

adequate and accurate records of the persons employed and of the wages, hours, and other conditions

and practices of employment maintained by the enterprise, as prescribed in the aforesaid Regulations.

                                                 VIII

               WHEREFORE, Plaintiff prays for an order:

               1. Permanently enjoining Defendants, their agents, servants, employees and all persons

in active concert or participation with them, from violating the provisions of Sections 6, 7, 11(c),

15(a)(2) and 15(a)(5) of the Act [29 U.S.C. §§ 206, 207, 211(c), 215(a)(2), and 215(a)(5)] in accordance

with Section 17 of the Act [29 U.S.C. § 217];


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               2. Restraining the withholding of payment of wages found by the Court to be due

employees under the Act (as named in “Exhibit A” attached hereto and made a part hereof and such

other employees as hereafter may be identified and named prior to or at trial) for a period of three years

prior to the commencement of this action in accordance with Section 17 of the Act [29 U.S.C. § 217];

               3. Awarding back wages for a period of three years prior to the commencement of this

action and an additional equal amount as liquidated damages to employees (as named in “Exhibit A”

attached hereto and made a part hereof and such other employees as hereafter may be identified and

named prior to or at trial) in accordance with Section 16(c) of the Act [29 U.S.C. § 216(c)]; and

               4. For such other and further relief as may be necessary and appropriate including but

not limited to interest on such back wages at the underpayment rate established by the Secretary of the

Treasury, pursuant to 26 U.S.C. § 6621, from the date they became due until paid.

                                                           Respectfully submitted,

                                                           KATE O’SCANNLAIN
                                                           Solicitor of Labor

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